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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION




  UNITED STATES OF AMERICA,
                                                   CR 18-5-M-DLC
                      Plaintiff,

        vs.                                         ORDER

 CHRISTOPHER GEORGE
 NOMURA,

                      Defendant.

      THIS MATTER comes before the Court on the United States' Motion for

Preliminary Order of Forfeiture (Doc. 38). Defendant Christopher George Nomura

appeared before the Court on August 1, 2018, and entered a plea of guilty to Count

II and V of the Indictment. He also admitted the forfeiture allegation. Nomura's

plea provides a factual basis and cause to issue an Order of Forfeiture, pursuant to

21 U.S.C. § 853 and 18 U.S.C. § 924(d).

      IT IS ORDERED:

      THAT Nomura's interest in the following property is forfeited to the United

States in accordance with 21 U.S.C. § 853 and 18 U.S.C. § 924(d).

      • Smith & Wesson, FNH USA, Model FNS-40, .40 caliber semi-automatic

         pistol (serial number GKUl 10245);


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      • Smith & Wesson 9mm, model SD9VE (serial number HFP8122);

      • Hi Point 9mm (serial number Pl 734278);

      • Ruger 10/22 22 caliber rifle (serial number 119-35787);

      • JC Higgins Model 20 12-gauge shotgun Sear Roebuck (serial number

         583.58);

      • U.S. Carbine 30 caliber rifle National Ordinance Incorporated (serial

         number 49234);

      • Benelli Arms Tactical 12 gauge shotgun (serial number V746692Z); and,

      • Ammunition.

      THAT the United States Marshals Service and the Bureau of Alcohol,

Tobacco, Firearms and Explosives are directed to seize the property subject to

forfeiture and further to make a return as provided by law;

      THAT the United States will provide written notice to all third parties

asserting a legal interest in any of the above-described property and will post on an

official government internet site (www.forfeiture.gov) for at least 30 consecutive

days as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions of the Court's Preliminary Order

and the United States' intent to dispose of the property in such manner as the

Attorney General may direct, pursuant to 18 U.S.C. § 924(d) and 21 U.S.C.


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§ 853(n)(l ), and to make its return to this Court that such action has been

completed; and

      THAT upon adjudication of all third-party interests, if any, the Court will

enter a Final Order of Forfeiture.

      DATED this /2#t day of October, 2018.




                                               Dana L. Christensen, Chief Judge
                                               United States District Court




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